27

28

Case 3:25-cv-00316-PJC Document1 Filed 02/21/25 Page1of3

Frank Tufano .
25 Dundaff ST
Carbondale, PA 18407
(917)599-2160

frankatufano@egmail.com
‘US. DISTRICT COURT

MIDDLE DISTRICT OF PENNSYLVANIA

FRANK TUFANO , Case No::

Plaintiff, 3 ° C V sma fa ies Q g i G
os. VERIFIED COMPE <1
SHOPIFY (USA) INC. Sc BLE D

N
LEWIS & LIN LLC rep TON
2:
ALL OPERATING CORPORATIONS AND PER I 25
LLC’S FOR SHOPIFY =
PWry
Defendants CLERK

1. On the 13" of February a court order was issued to Shopify regarding Frank

Tufano’s online store “frankie-free-range-meats.myshopify.com.” (EXHIBIT A)

2. The LLC stated in the court order “Frankie’s Free Range Meat,” is not Frank
Tufano’s business, however the attorney Davis Lin of “Lewis & Lin LLC,”
_ fraudulently used the court order to request information from Frank Tufano’s
online store.
3. “Frankie’s Free Range Meat LLC,” is a Delaware Entity that was Voluntarily Cancalled
on 9/8/2021 according to the Delaware Secretary of State. (EXHIBIT B)
4. Frank Tufano’s online business operates under a separate LLC not in the state of

Delaware.

VERIFIED COMPLAINT - 1

27

28

Case 3:25-cv-00316-PJC Document1 Filed 02/21/25 Page 2of3

10.

11.

12.

Despite Frank Tufano’s efforts to communicate this to Shopify and file several
new lawsuits as well as motions in the relevant case, Shopify sent an email to
Frank Tufano on 2/21/2025 stating that they would produce the information to

“Lewis & Lin LLC,” on February 28, 2025.

JURISDICTION

This Court has subject matter jurisdiction pursuant to 28 U.S.C. par. 1332
because there is a complete diversity of citizenship between each plaintiff and
Defendant and the amount in controversy exceeds $75,000.

Frank Tufano’s residence and domicile is in Carbondale, PA

Lewis & Lin LLC’s residence and domicile is in Brooklyn NY

Shopfiy has multiple operating Corporations and LLC’s in the state of New

York, Delaware, and California. (EXHIBIT C)

FIRST CLAIM FOR RELIEF
FRAUD

Lewis & Lin LLC fraudulently submitted a court order for the incorrect LLC

against Frank Tufano’s operating online store.

Shopify is obeying the fraudulent court order, despite being made aware the LLC

in the court order is not the operating LLC for Frank Tufano’sonline store.

EMERGENCY MOTION TO STAY

Frank Tufano requests that all current actions in the case “Saladino, MD v.

Frank Tufano No. 7:2020cv09346,” be stayed until a determination is made on

VERIFIED COMPLAINT - 2

Case 3:25-cv-00316-PJC Document1 Filed 02/21/25 Page 3of3

whether Frank Tufano’s rights were violated and whether the rules of the court

were adhered to.

PRAYER FOR RELIEF
13. WHEREFORE, by reason of the acts and circumstances alleged herein, Frank Tufano

seeks telief from this Court as follows:

A. Shopify and Lewis & Lin LLC be ordered to cease any fraudulent operations
against Prank Tufano’s online store by using court orders issued against
different entity’s.

B. Frank Tufano be reimbursed for loss of revenue, trade secrets, and legal ’
expenses brought onto him by the fraudulent conduct executed by Shopify

and Lewis & Lin LLC to an amount no less than $75,000.

Dated: Friday, February 21, 2025

s7 Prank Tufand

Frank Tufand

VERIFIED COMPLAINT - 3

